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 4

 5   ATTORNEY FOR Defendant, Brandon Thomas

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 7                                   UNITED STATES DISTRICT COURT
 8                                  EASTERN DISTRICT OF CALIFORNIA

 9                                              ******
     UNITED STATES OF AMERICA,                         Case No.: 1:14-CR-00228-LJO-SKO
10
                       Plaintiff,                      ORDER GRANDING MOTION TO
11
                                                       WITHDRAW AS ATTORNEY OF
12           v.                                        RECORD

13   BRANDON THOMAS,                                   Judge: Hon. Gary S. Austin

14                     Defendant.

15

16           Brian C. Andritch seeks to withdraw as council for Defendant in the above captioned

17   matter pursuant to Local Rule 182(d) and California Rule of Professional Conduct 3-

18   700(C)(1)(f). As this court finds that Mr. Andritch has submitted satisfactory reasoning for

19   withdrawal,

20           IT IS HEREBY ORDERED that Brian C. Andritch’s Motion to Withdraw as Attorney

21   of Record for Defendant is GRANTED, and Brian C. Andritch is hereby terminated as council

22   in this matter.

23   IT IS SO ORDERED.
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         Dated:        May 29, 2015                        /s/ Gary S. Austin
25                                                   UNITED STATES MAGISTRATE JUDGE

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                                                    1
                  [PROPOSED] ORDER GRANTING MOTION TO WITHDRAW AS ATTORNEY OF RECORD
                                    CASE NO.: 1:14-CR-00228-LJO-SKO
